               Case 2:18-cv-00791-TC Document 8 Filed 11/20/18 Page 1 of 2




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Attorneys for Defendants PolarityTE, Inc.,
Denver Lough, Michael Beeghley, Willie C.
Bogan, Jeff Dyer, Steven Gorlin, Jon Mogford,
John Stetson and Edward Swanson

                                IN THE UNITED STATES DISTRICT COURT

                                         DISTRICT OF UTAH

HENRY MONTHER, derivatively on behalf of           NOTICE OF APPEARANCE OF
POLARITYTE, INC.,                                  MICHAEL R. MENSSEN

                   Plaintiff,                      Case No. 2:18-cv-00791-TC

         v.                                        The Honorable Tena Campbell

DENVER LOUGH, MICHAEL BEEGHLEY,
WILLIE C. BOGAN, JEFF DYER, STEVEN
GORLIN, JON MOGFORD, JOHN
STETSON, and EDWARD SWANSON,

                   Defendants,

         and

POLARITYTE, INC.,

                   Nominal Defendant.




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              Case 2:18-cv-00791-TC Document 8 Filed 11/20/18 Page 2 of 2




         NOTICE IS HEREBY GIVEN that Michael R. Menssen of Stoel Rives LLP hereby

appears as counsel for Defendants Denver Lough, Michael Beeghley, Willie C. Bogan,

Jeff Dyer, Steven Gorlin, Jon Mogford, John Stetson, Edward Swanson and PolarityTE, Inc. in

the above-captioned action and requests that all further notices, inquiries, and copies of

pleadings, papers and other material relevant to this action be directed and served upon the

following:

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         DATED: November 20, 2018             STOEL RIVES LLP


                                              By: /s/ Michael R. Menssen
                                                 Kenneth B. Black
                                                 Michael R. Menssen

                                              Attorneys for Defendants PolarityTE, Inc., Denver
                                              Lough, Michael Beeghley, Willie C. Gogan, Jeff
                                              Dyer, Steven Gorlin, Jon Mogford, John Stetson
                                              and Edward Swanson




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